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 Attorneys for Plaintiff Securities and Exchange Commission

                         IN THE UNITED STATES DISTRICT COURT
                         DISTRICT OF UTAH, NORTHERN DIVISION


  SECURITIES AND EXCHANGE
  COMMISSION,

                Plaintiff,                             PLAINTIFF SECURITIES AND
                                                       EXCHANGE COMMISSION’S
  v.                                                   AND DEFENDANT RYAN
                                                       BOWEN’S STIPULATED MOTION
  DIGITAL LICENSING INC. (d/b/a “DEBT                  FOR DISMISSAL OF DEFENDANT
  Box”), a Wyoming corporation; JASON R.               BOWEN WITHOUT PREJUDICE
  ANDERSON, an individual; JACOB S.
  ANDERSON, an individual; SCHAD E.                     Case No. 2:23-cv-00482-RJS-DBP
  BRANNON, an individual; ROYDON B.
  NELSON, an individual; JAMES E. FRANKLIN,             Chief Judge Robert J. Shelby
  an individual; WESTERN OIL EXPLORATION
  COMPANY, INC., a Nevada corporation; RYAN             Chief Magistrate Judge Dustin B. Pead
  BOWEN, an individual; IX GLOBAL, LLC, a
  Utah limited liability company; JOSEPH A.
  MARTINEZ, an individual; BENJAMIN F.
  DANIELS, an individual; MARK W. SCHULER,
  an individual; B & B INVESTMENT GROUP,
  LLC (d/b/a “CORE 1 CRYPTO”), a Utah limited
  liability company; TRAVIS A. FLAHERTY, an
  individual; ALTON O. PARKER, an individual;
  BW HOLDINGS, LLC (d/b/a the “FAIR
  PROJECT”), a Utah limited liability company;
  BRENDAN J. STANGIS, an individual; and
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  MATTHEW D. FRITZSCHE, an individual,

               Defendants,

  ARCHER DRILLING, LLC, a Wyoming limited
  liability company; BUSINESS FUNDING
  SOLUTIONS, LLC, a Utah limited liability
  company; BLOX LENDING, LLC, a Utah
  limited liability company; CALMFRITZ
  HOLDINGS, LLC, a Utah limited liability
  company; CALMES & CO, INC., a Utah
  corporation; FLAHERTY ENTERPRISES, LLC,
  an Arizona limited liability company; IX
  VENTURES FZCO, a United Arab Emirates
  company; PURDY OIL, LLC, a Nebraska limited
  liability company; THE GOLD COLLECTIVE
  LLC, a Utah limited liability company; and UIU
  HOLDINGS, LLC, a Delaware limited liability
  company,

                Relief Defendants.
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        Pursuant to Rule 41(a)(2) of the Federal Rules of Civil Procedure and Rule 7-1(a)(2)(G)

 of the District of Utah’s Local Rules, 1 Plaintiff Securities and Exchange Commission (“SEC”)

 and Defendant Ryan Bowen (“Bowen”) request the Court grant this stipulated motion to dismiss

 Defendant Bowen without prejudice. The Court recently denied the SEC’s motion to dismiss this

 action, Dkt. 260, but did so without prejudice to the SEC refiling a proper motion in accordance

 with the Local Rules. Dkt. 275 at 78-79. Defendant Bowen did not oppose the SEC’s original

 motion to dismiss. See Dkt. 260 at 3. 2 The SEC presently intends to refile its motion to dismiss

 this action without prejudice as to the other Defendants and Relief Defendants and is preparing

 that motion. However, as a result of certain exigencies that Defendant Bowen has represented to

 the SEC, the SEC and Defendant Bowen move now to dismiss Defendant Bowen from this

 action, without prejudice. 3 Without taking any position regarding any of the foregoing, the other




 1
  We bring this stipulated motion pursuant to Local Rule 7-1(a)(2)(G), which specifically excepts
 such stipulated motions from the requirement to recite relevant facts and supporting authority
 and provide argument. DUCivR 7-1(a)(2)(G).
 2
   Defendant Bowen previously answered the complaint in this matter. See Dkt. 195. Therefore,
 the parties move for voluntary dismissal under Rule 41(a)(2), rather than file a notice of
 dismissal under Rule 41(a)(1)(A)(i).
 3
   In the Tenth Circuit, there is conflicting district court authority on whether Rule 41(a) can be
 used to voluntarily dismiss less than an entire “action.” See, e.g., Gardner v. Schumacher, No.
 1:23-cv-00189-MIS-DLM, 2023 WL 5352452, *3 n.4 (D.N.M. Aug. 21, 2023) (citing cases),
 appeal pending, No. 23-2150 (10th Cir.). The Tenth Circuit appears to have clarified in a recent
 unpublished decision that Rule 41(a) may be used to dismiss all claims against a single party,
 such as Defendant Bowen, even if other parties remain in the case. See Kristina Consulting
 Group, LLC v. Debt Pay Gateway, Inc., No. 21-5022, 2022 WL 881575, at *2 n.4 (10th Cir.
 Mar. 25, 2022) (“Although Rule 41(a)(1)(A) refers to dismissal of the ‘action,’ the rule permits
 the dismissal of fewer than all parties so long as all claims against a particular party are
 dismissed. . . . Our decision in Gobbo Farms & Orchards v. Poole Chemical Co., 81 F.3d 122,
 123 (10th Cir. 1996), is not to the contrary. There, we rejected use of Rule 41(a) to dismiss fewer
 than all claims in the action, but all of the claims were asserted against only one defendant.”)
 (citations omitted).


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 Defendants stipulate to the SEC’s dismissal of Defendant Bowen from this action, without

 prejudice.

        WHEREFORE the SEC and Defendant Bowen respectfully request this Court approve

 this stipulation between the SEC and Defendant Bowen and enter the attached order dismissing

 Defendant Bowen without prejudice.



 Dated: April 2, 2024                               Respectfully submitted,

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                                      3
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                                  CERTIFICATE OF SERVICE

        On this 2nd day of April, 2024, I hereby certify that I electronically filed a true and correct

 copy of the foregoing with the Clerk of the Court using the CM/ECF system, which sent

 notification and service to all counsel of record.


                                                          /s/ Nicholas Heinke




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